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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI

                                     CASE NO.: 1:24-cv-20633


   TICK CORPORATION,

                  PLAINTIFF,

   v.

   THE INDIVIDUALS, PARTNERSHIPS,
   AND UNINCORPORATED
   ASSOCIATIONS IDENTIFIED ON
   SCHEDULE "A"

                  DEFENDANTS.


       PLAINTIFF’S MOTION TO CONTINUE HEARING ON MOTION FOR
  PRELIMINARY INJUNCTION AND EXTEND TEMPORARY RESTRAINING ORDER
                         FOR FOURTEEN DAYS

         Plaintiff Tick Corporation, by and through its undersigned counsel, hereby moves this

  Honorable Court to continue the hearing on Plaintiff’s motion for preliminary injunction set for

  March 11, 2025, for fourteen (14) days to permit Plaintiff to serve the Defendants, The

  Individuals, Partnerships, and Unincorporated Associations identified on Schedule “A”

  (“Defendants”), and to extend the Court’s Sealed Order Granting Ex Parte Motion for Entry of

  Temporary Restraining Order entered on February 26, 2025 (TRO) until the date of the

  continued hearing, and in support thereof states as follows:

         1.      The Court entered a TRO on February 26, 2025, setting a telephonic hearing on

  Plaintiff’s motion for preliminary injunction for March 11, 2025, at 12:55 P.M.

         2.      After receiving the TRO, Plaintiff immediately served the online marketplaces

  and payment processors in order to obtain the information of the Defendants listed on Schedule


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  “A” necessary to effectuate service of process by alternate means pursuant to the Court’s Order

  entered at DE 10.

         3.         Despite Plaintiff’s efforts, some of the marketplaces have yet to respond. With

  respect to the remaining marketplaces from which Plaintiff has received a response, the

  corresponding financial institutions have yet to confirm restraint of the funds pursuant to the

  Court’s Order.

         4.         Plaintiff has therefore not been able to serve any of the Defendants.

         5.         In the interests of providing Defendants with notice and an opportunity to be

  heard in opposition to the motion for preliminary injunction, Plaintiff respectfully requests that

  the Court continue the hearing for two weeks and extend the temporary restraining order during

  that period.

         6.         Rule 65 permits this Court to issue a TRO for up to fourteen days. Fed. R. Civ. P.

  65(b)(2) (providing that for good cause, a court may extend a TRO for a period not to exceed

  fourteen days).

         7.         To provide Defendants with due process and permit Plaintiff to serve the

  Defendants, this Court should continue the hearing on the motion for preliminary injunction by

  fourteen (14) days to March 25, 2025.

  DATED: March 5, 2025                            Respectfully submitted,
                                                  /s/ Joel B. Rothman
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